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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-392-4 (RCL)
                                              :
FELIPE ANTONIO MARTINEZ,                      :
                                              :
                       Defendant.             :


     UNITED STATES’S POSITION ON PRETRIAL RELEASE STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this position on the Pretrial Violation Report filed

on March 30, 2023, with respect to Defendant Felipe Antonio Martinez. See ECF No. 186.1

       On June 10, 2021, Defendant Martinez was arrested pursuant to an indictment and arrest

warrant. ECF Nos. 1, 22. On June 28, 2021, Defendant Martinez appeared before this Court for

an arraignment, at which he pleaded not guilty. June 28, 2021 Minute Entry. The following day,

the Court issued an order setting conditions of release with respect to Defendant Martinez. Among

other conditions, the Court required Defendant Martinez to “submit to supervision,” “continue to

actively seek employment,” “not possess a firearm, destructive device, or other weapon,” “not use

alcohol at all” and “not use or unlawfully possess a narcotic drug or other controlled substances.”

ECF No. 34. On September 17, 2021, the Court issued an amended order setting conditions of

release for Defendant Martinez.      A superseding indictment was returned in this matter on

December 1, 2021. ECF No. 89. Defendant Martinez again pleaded not guilty, and the conditions

of his release were not altered. See December 3, 2021 Minute Entry. On September 18, 2022 and


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  Although it was docketed as a “Pretrial Violation Report,” the report itself does not specifically
identify any violation committed by Defendant Martinez. See ECF No. 186.
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December 1, 2022, the Pretrial Services Agency for the District of Columbia (“PSA”) filed status

reports requesting no changes in Defendant Martinez’s conditions of release. ECF Nos. 153, 156.

       On March 30, 2023, the PSA filed the instant Status Report with the Court. ECF No. 186.

In the Status Report, the PSA recommended three additional conditions of release for Defendant

Martinez:

       Based on observations made during an office and home visit on 03/28/2023, both PSA and
       the US Probation Office for the Central District of California are requesting the defendant’s
       conditions of release be modified to include the following conditions: 1) Report to US
       Probation Office for a mental health evaluation, and if the mental health evaluation
       indicates the defendant requires mental health services, the defendant may not relocate
       from the Central District of California. The defendant is to comply with all treatment
       recommendations including medication and sign all required releases of information to
       obtain and report treatment compliance to the Court. 2) Defendant is not to possess any
       ammunition and 3) The Court impose the following search condition: “To determine
       compliance, you agree to submit to a search of your person and property by Supervising
       Agency, which may be in conjunction with law enforcement.”

Id. While the United States ultimately defers to the Court, the United States submits that the

additional conditions jointly proposed by the PSA and the U.S. Probation Office for the Central

District of California are reasonable and appropriate in light of the observations made by the PSA

and the U.S. Probation Office for the Central District of California, discussed further in the Status

Report. The proposed additional conditions are appropriate conditions to ensure Defendant

Martinez’s compliance with release conditions and the safety of the defendant, other persons, and

the community.




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Date: April 3, 2023

                                     Respectfully submitted,

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